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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-60839-CIV-ALTONAGA/SELTZER


  CERTAIN UNDERWRITERS AT
  LLOYD’S, LONDON, SYNDICATES
  2623/623

                Plaintiff,

  vs.

  SOLUTIONS RECOVERY CENTER, LLC,
  DANIEL J. CALLAHAN, SEAN
  CALLAHAN and RICHARD GLASER


             Defendants.
  ________________________________/

                        ORDER SETTING DISCOVERY PROCEDURE

         THIS CAUSE is before the Court on referral from U.S. District Judge Cecilia M.

  Altonaga [DE 22] for appropriate disposition of all pretrial discovery matters. To ensure an

  expeditious and just discovery process going forward, the Court ORDERS as follows:

         1. Pre-hearing Communication: If a discovery dispute arises, the parties must

  confer either in person or via telephone in a genuine effort to resolve their disputes before

  seeking Court intervention.

         2. Discovery Hearing: If, after conferring, the parties cannot resolve their discovery

  dispute, the movant must seek relief within 14 days after the grounds for relief occur by

  contacting the undersigned’s Chambers (954-769-5450) and scheduling a discovery

  hearing. The movant shall have first conferred with opposing counsel and obtained three

  alternative dates and times that both counsel are available for a hearing. The Court will
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  thereafter enter an order setting the matter for hearing.

         3.   Discovery Status Report: Except in instances involving a complete failure to

  respond to discovery (see ¶ 4, below), or a stipulated matter (see ¶ 5, below), by no later

  than 12:00 p.m., five business days before the hearing, the parties shall email to the

  Court a Joint Discovery Status Report, identifying the issues/discovery requests, if any, that

  remain unresolved. The parties shall separately each e-mail the Joint Status Report, in

  Word or Word Perfect format, to seltzer@flsd.uscourts.gov. The Joint Status Report must

  set forth the following information for the unresolved discovery issues: (1) the verbatim

  request; (2) the verbatim response; (3) a brief summary of each party’s position; and (4)

  the result of the parties’ meet and confer. The parties may group the discovery requests

  by issue, as appropriate. The information must be presented in chart form as set forth

  below, addressing one discovery request/issue per page:

   Request No. [ ]: [VERBATIM REQUEST]



   Response:         [VERBATIM RESPONSE]



   Movant’s Position:             Opponent’s Position:           [LEAVE BLANK FOR
                                                                 COURT USE]




         4. Complete Failure to Respond to Discovery: Where there has been a complete

  failure to respond to discovery, and where good faith efforts have been made (without

  success) to obtain that discovery, counsel shall so inform the Court telephonically, and the

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  Court will set the matter for hearing.




           5.   Stipulated Matters: When the parties have stipulated to entry of an order, such

  as a stipulated confidentiality order, the parties shall not file a motion for entry of the

  stipulated order. Instead, counsel shall email to Chambers (seltzer@flsd.uscourts.gov) a

  copy of the proposed stipulated order in Word or WordPerfect format, with a statement that

  the parties have agreed to entry of the proposed order.

           6.   Written Motions: No written discovery motions or memoranda of law, including

  motions to compel and motions for protective order, shall be filed unless requested by the

  Court.

           7.   Resolution of Issues Prior to Hearing: Even after a hearing has been set, the

  parties are encouraged to continue negotiating a resolution of disputed discovery matters.

  If those efforts are wholly successful, then counsel should so inform Chambers as soon

  as possible to cancel the hearing. Similarly, if the parties resolve some, but not all, of their

  issues before the hearing, counsel should so inform Chambers to avoid the unnecessary

  expenditure of judicial resources on matters no longer in dispute.

           The Court expects all parties to act courteously and professionally in the resolution

  of discovery disputes. The Court may impose appropriate sanctions upon a finding of

  failure to comply with this Order or other discovery misconduct.

           DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 23rd day of

  May, 2018.



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  Copies furnished to counsel via CM/ECF




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